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                             IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                 CASE NO.

  LINDA MASI SMITH, individually and on behalf
  of all others similarly situated,
                                                                  CLASS ACTION
        Plaintiff,
                                                                  JURY TRIAL DEMANDED
  vs.

  AMERIMARK DIRECT, LLC,

    Defendant.
  ____________________________________/


                                      CLASS ACTION COMPLAINT

            Plaintiff, Linda Masi Smith (“Plaintiff”), brings this class action against Defendant,

  Amerimark Direct, LLC (“Defendant”), and alleges as follows upon personal knowledge as to

  Plaintiff and Plaintiff’s own acts and experiences, and, as to all other matters, upon information and

  belief, including investigation conducted by Plaintiff’s attorneys.

                                        NATURE OF THE ACTION

            1.       This is a class action under the Florida Telephone Solicitation Act (“FTSA”), Fla.

  Stat. § 501.059 and the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”).

            2.       Defendant is an online retailer that sells various consumer goods including apparel,

  shoes, fragrances, and health-related merchandise.

            3.       To promote its goods and services, Defendant engages in aggressive telephonic

  sales calls to consumers without having secured prior express written consent as required under

  the FTSA and with no regard to consumer rights under the TCPA.
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          4.      Defendant’s telephonic sales calls have caused Plaintiff and the Class members

  harm, including violations of their statutory rights, statutory damages, annoyance, nuisance, and

  invasion of their privacy.

          5.      Through this action, Plaintiff seeks an injunction and statutory damages on behalf

  of herself and the Class members, as defined below, and any other available legal or equitable

  remedies resulting from the unlawful actions of Defendant.

                                                PARTIES

          6.      Plaintiff is a natural person who, at all times relevant to this action, was a resident

  of Palm Beach County, Florida.

          7.      Plaintiff is, and at all times relevant hereto was, an individual and a “called party”

  as defined by Fla. Stat. § 501.059(1)(a) in that she was the regular user of telephone number 561-

  ***-8761 (the “8761 Number”) that received Defendant’s telephonic sales calls.

          8.      Defendant is, and at all times relevant hereto was, a Delaware LLC and a “telephone

  solicitor” as defined by Fla. Stat. § 501.059(f). Defendant maintains its primary place of business

  and headquarters in Cleveland, Ohio. Defendant directs, markets, and provides business activities

  throughout the State of Florida and the United States.

                                    JURISDICTION AND VENUE

          9.      Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a

  federal statute. Jurisdiction is also proper under 28 U.S.C. § 1332 as the amount in controversy

  exceeds the sum of $75,000. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because

  Plaintiff alleges a class, which will result in at least one class member belonging to a different state

  than that of Defendant. Plaintiff seeks up to $1,500.00 (one-thousand-five-hundred dollars) in

  damages for each call in violation of the FTSA, which, when aggregated among a proposed class



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  numbering in the tens of thousands, or more, exceeds the $5,000,000.00 (five-million dollars)

  threshold for federal court jurisdiction under the Class Action Fairness Act (“CAFA”). Therefore,

  both the elements of diversity jurisdiction and CAFA jurisdiction are present.

          10.      Defendant is subject to specific personal jurisdiction in Florida because this suit

  arises out of and relates to Defendant’s significant contacts with this State. Defendant initiated and

  directed, or caused to be initiated and directed, calls into Florida in violation of the FTSA.

  Specifically, Defendant initiated and directed, or caused to be initiated and directed, the

  transmission of calls into Florida. Plaintiff’s claims for violation of the FTSA against Defendant,

  and the resulting injuries caused to Plaintiff by Defendant’s calls, which includes the invasion of

  Plaintiff’s privacy, arose in substantial part from Defendant’s direction of those messages into

  Florida.

          11.     Venue is proper in the United States District Court for the Southern District of

  Florida pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is deemed to reside in any

  judicial district in which it is subject to the court’s personal jurisdiction, and because Defendant

  provides and markets its services within this district thereby establishing sufficient contacts to

  subject it to personal jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred

  within the State of Florida and, on information and belief, Defendant has sent the same messages

  complained of by Plaintiff to other individuals within this judicial district, such that some of

  Defendant’s acts in making such calls have occurred within this district, subjecting Defendant to

  jurisdiction in the State of Florida.

                                                FACTS

          12.     Beginning on or about April 2020, Defendant began sending telephonic sales calls

  to Plaintiff’s cellular telephone number.



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         13.     Defendant’s messages did not include instructions on how to opt-out of future

  messages.

         14.     Also in April of 2020, Plaintiff responded with the words Stop in an attempt to opt-

  out of any further text message communications with Defendant.

         15.     Despite Plaintiff’s use of clear opt-out language, Defendant ignored Plaintiff’s opt-

  out demand and continued to send Plaintiff further promotional text message on January 29, 2022,

  and in February 2022:




         16.     As demonstrated by the above screenshot, the purpose of Defendant’s telephonic

  sales messages was to solicit the sale of consumer goods and/or services.




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         17.     Defendant’s text messages constitute telemarketing because they encouraged the

  future purchase or investment in property, goods, or services, i.e., selling Plaintiff merchandise

  through its online-shopping platform.

         18.     Defendant’s text messages contained language such as “…AmeriMark: Fill Your

  Cart Weekend Means FREE Shipping When You Buy 3+ Items!”

         19.     Defendant’s texts were not made for an emergency purpose or to collect on a debt.

         20.     Defendant’s text messages were transmitted to Plaintiff’s cellular telephone, and

  within the time frame relevant to this action.

         21.     Upon information and belief, Defendant does not have a written policy for

  maintaining an internal do not call list pursuant to 47 U.S.C. § 64.1200(d)(1).

         22.     Upon information and belief, Defendant does not inform and train its personnel

  engaged in telemarking in the existence and the use of any internal do not call list pursuant to 47

  U.S.C. § 64.1200(d)(2).

         23.     At no point did Plaintiff provide Defendant with express written consent to be

  contacted for marketing purposes.

         24.     To the extent that Defendant had any consent to contact Plaintiff, that consent was

  expressly revoked when Plaintiff responded requesting Defendant to cease contacting her during

  April 2020.

         25.     Upon information and belief, Defendant caused similar telephonic sales calls to be

  sent to other individuals residing in Florida and throughout the United States after they had

  requested to be opted out of future contact.

         26.     The text messages originated from telephone number 40957, a number which upon

  information and belief is owned and operated by Defendant or on behalf of Defendant.



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         27.     Plaintiff registered her 8761 Number with the National do-not-call registry on

  September 1, 2003 and has been registered at all times relevant to this action.

         28.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

  person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

  who has registered his or her telephone number on the national do-not-call registry of persons who

  do not wish to receive telephone solicitations that is maintained by the federal government.

         29.     The website identified in the messages is owned and operated by Defendant, where

  Defendant advertises its goods and services.

         30.     To constitute valid consent under Florida law, the called party must, inter alia,

  “[c]learly authorize[] the person making or allowing the placement of a telephonic sales call” to

  place such call “using an automated system for the selection or dialing of telephone numbers[.]”

  Fla. Stat. § 501.059(1)(g).

         31.     Upon information and belief, Defendant caused similar telephonic sales calls to be

  sent to individuals residing in Florida and throughout the United States.

         32.     Upon information and belief, Defendant maintains and/or has access to outbound

  transmission reports for all text messages sent advertising/promoting its services and goods. These

  reports show the dates, times, target telephone numbers, and content of each message sent to

  Plaintiff and the Class members.

         33.     Plaintiff is the regular user of the telephone number that received the above

  telephonic sales calls.

         34.     To send the text messages, Defendant used a messaging platform (the “Platform”),

  which permitted Defendant to transmit blasts of text messages automatically and without any

  human involvement. The Platform automatically made a series of calls to Plaintiff’s and the Class



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  members’ stored telephone numbers with no human involvement after the series of calls were

  initiated utilizing the Platform.

          35.     Defendant was not required to and did not need to utilize the Platform to send

  messages to Plaintiff and the Class members. Instead, Defendant opted to use the Platform to

  maximize the reach of its text message advertisements at a nominal cost to Defendant.

          36.     Defendant would be able to conduct its business operations without sending

  automated text messages to consumers.

          37.     Defendant would be able to send automated text messages to consumers, and in

  compliance with the FTSA, by securing the proper consent from consumers prior to sending text

  messages.

          38.     Defendant would be able to send text messages to consumers without consent by

  utilizing a non-automated text messaging system.

          39.     Accordingly, it is not impossible for Defendant to comply with the FTSA in the

  context of transmitting text messages.

          40.     The burden and cost to Defendant of securing consent from consumers that

  complies with the FTSA is nominal.

          41.     Compliance with the FTSA will not result in Defendant having to cease its business

  operations.

          42.     Compliance with the FTSA will not result in Defendant having the alter the prices

  of any goods or services it provides in the marketplace.

          43.     Compliance with the FTSA will not force Defendant to seek regulatory approval

  from the State of Florida before undertaking any type of commercial transaction.




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         44.     The Platform has the capacity to select and dial numbers automatically from a list

  of numbers, which was in fact utilized by Defendant.

         45.     The Platform has the capacity to schedule the time and date for future transmission

  of text messages, which was in fact utilized by Defendant.

         46.     The Platform also has an auto-reply function that results in the automatic

  transmission of text messages.

         47.     Plaintiff never provided Defendant with express written consent authorizing

  Defendant to transmit telephonic sales calls to Plaintiff’s cellular telephone number utilizing an

  automated system for the selection or dialing of telephone numbers.

         48.     More specifically, Plaintiffs never signed any type of authorization permitting or

  allowing the placement of telephonic sales calls by text message using an automated system for

  the selection and dialing of telephone numbers.

         49.     Plaintiff never provided Defendant with express written consent authorizing

  Defendant to transmit telephonic sales calls to Plaintiff’s cellular telephone number utilizing an

  automated system for the selection or dialing of telephone numbers.

         50.     The text messages originated from telephone number 833-941-3025, a number

  which upon information and belief is owned and operated by Defendant or on behalf of Defendant.

         51.     Defendant’s telephonic sales calls caused Plaintiff and the Class members harm,

  including statutory damages, inconvenience, invasion of privacy, aggravation, annoyance, and

  wasted time.

                                     CLASS ALLEGATIONS

         PROPOSED CLASS




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         52.     Plaintiff brings this lawsuit as a class action on behalf of herself individually and

  on behalf of all other similarly situated persons as a class action pursuant to Fed. R. Civ. P. 23.

  The “Class” that Plaintiff seeks to represent is defined as:

                 No Consent Class: All persons in Florida who (1) were sent a
                 telephonic sales call regarding Defendant’s goods and/or services,
                 (2) using the same equipment or type of equipment utilized to call
                 Plaintiff, within the time period of four years prior to the filing of
                 the original Complaint through the date on which an Order
                 granting class certification is entered.

                 Do Not Call Registry Class: All persons in the United States who
                 from four years prior to the filing of this action (1) were sent a call
                 or text message by or on behalf of Defendant; (2) more than one
                 time within any 12-month period; (3) where the person’s telephone
                 number had been listed on the National Do Not Call Registry for at
                 least thirty days; (4) for the purpose of selling Defendant’s products
                 and services; and (5) for whom Defendant claims (a) it did not
                 obtain prior express written consent, or (b) it obtained prior
                 express written consent in the same manner as Defendant claims it
                 supposedly obtained prior express written consent to call the
                 Plaintiff.

                 TCPA Internal Do Not Call Class: All persons within the United
                 States who, within the four years prior to the filing of this
                 Complaint, were sent a text message from Defendant or anyone on
                 Defendant’s behalf, to said person’s cellular telephone number
                 after making a request to Defendant to not receive future text
                 messages.

                 FTSA Internal Do Not Call Class: All persons within the United
                 States who, within the four years prior to the filing of this
                 Complaint, were sent a text message from Defendant or anyone on
                 Defendant’s behalf, to said person’s cellular telephone number
                 after making a request to Defendant to not receive future text
                 messages

         53.     Defendant and its employees or agents are excluded from the Class. Plaintiff does

  not know the exact number of members in the Class but believes the Class members number in the

  several thousands, if not more.

         NUMEROSITY


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         54.     Upon information and belief, Defendant has placed telephonic sales calls to

  telephone numbers belonging to thousands of consumers via an automated dialer without their

  prior express written consent and while their numbers were listed on the national do not call

  registry or after they had already requested to be opted out. The members of the Class, therefore,

  are believed to be so numerous that joinder of all members is impracticable.

         55.     The exact number and identities of the Class members are unknown at this time and

  can be ascertained only through discovery. Identification of the Class members is a matter capable

  of ministerial determination from Defendant’s call records.

         COMMON QUESTIONS OF LAW AND FACT

         56.     There are numerous questions of law and fact common to the Class which

  predominate over any questions affecting only individual members of the Class. Among the

  questions of law and fact common to the Class are:

         [i] Whether Defendant initiated telephonic sales calls to Plaintiff and the Class members;

         [ii] Whether Defendant can meet its burden of showing that it had prior express written

         consent to make such calls;

         [iii] Whether Defendant utilized an automated system for the dialing or selection of

         numbers to be called;

         [iv] Whether Defendant violated 47 C.F.R. § 64.1200(c);

         [v] Whether Defendant violated 47 C.F.R. § 64.1200(d);

         [vi] Whether Defendant’s conduct was knowing and willful; and

         [vii] Whether Defendant is liable for damages, and the amount of such damages.

         57.     The common questions in this case are capable of common answers. If Plaintiff’s

  claim that Defendant routinely transmits telephonic sales calls without prior express written



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  consent is accurate, Plaintiff and the Class members will have identical claims capable of being

  efficiently adjudicated and administered in this case.

         TYPICALITY

         58.     Plaintiff’s claims are typical of the claims of the Class members, as they are all

  based on the same factual and legal theories and Plaintiff is not subject to unique affirmative

  defenses that threaten to dominate the litigation.

         PROTECTING THE INTERESTS OF THE CLASS MEMBERS

         59.     Plaintiff is a representative who will fully and adequately assert and protect the

  interests of the Class and has retained competent counsel. Accordingly, Plaintiff is an adequate

  representative and will fairly and adequately protect the interests of the Class. The undersigned are

  experienced class action litigators, including in the specific context of the FTSA, and neither

  Plaintiff nor the undersigned have any interests in conflict with those of the putative Class.

         SUPERIORITY AND PREDOMINANCE

         60.     A class action is superior to all other available methods for the fair and efficient

  adjudication of this lawsuit because individual litigation of the claims of all members of the Class

  is economically unfeasible and procedurally impracticable. While the aggregate damages sustained

  by the Class are in the millions of dollars, the individual damages incurred by each member of the

  Class resulting from Defendant’s wrongful conduct are too small (at most $1,500.00) to warrant

  the expense of individual lawsuits. The likelihood of individual Class members prosecuting their

  own separate claims is remote, and, even if every member of the Class could afford individual

  litigation, the court system would be unduly burdened by individual litigation of such cases.

         61.     The prosecution of separate actions by members of the Class would create a risk of

  establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For



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  example, one court might enjoin Defendant from performing the challenged acts, whereas another

  may not. Additionally, individual actions may be dispositive of the interests of the Class, although

  certain class members are not parties to such actions.

            62.   Moreover, the previously articulated common questions predominate over

  individual questions. Defendant used the same automated system to send materially identical

  telemarketing messages to all members of the putative Class. Whether the fact that Class members

  provided information into a generic data harvesting lead generator constitutes valid consent within

  the meaning of the FTSA is a question the answer to which is equally applicable to all members

  of the Class. As such, there are no material individual questions at all—but even if there were, they

  certainly do not predominate over the common questions.

                                             COUNT I
                             VIOLATION OF FLA. STAT. § 501.059
                          (On Behalf of Plaintiff and the No Consent Class)

            63.   Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

  herein.

            64.   It is a violation of the FTSA to “make or knowingly allow a telephonic sales call to

  be made if such call involves an automated system for the selection or dialing of telephone numbers

  or the playing of a recorded message when a connection is completed to a number called without

  the prior express written consent of the called party.” Fla. Stat. § 501.059(8)(a).

            65.   A “telephonic sales call” is defined as a “telephone call, text message, or voicemail

  transmission to a consumer for the purpose of soliciting a sale of any consumer goods or services,

  soliciting an extension of credit for consumer goods or services, or obtaining information that will

  or may be used for the direct solicitation of a sale of consumer goods or services or an extension

  of credit for such purposes.” Fla. Stat. § 501.059(1)(g).



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          66.     “Prior express written consent” means an agreement in writing that:

                  1. Bears the signature of the called party;

                  2. Clearly authorizes the person making or allowing the placement of a telephonic
                     sales call by telephone call, text message, or voicemail transmission to deliver
                     or cause to be delivered to the called party a telephonic sales call using an
                     automated system for the selection or dialing of telephone numbers, the playing
                     of a recorded message when a connection is completed to a number called, or
                     the transmission of a prerecorded voicemail;

                  3. Includes the telephone number to which the signatory authorizes a telephonic
                     sales call to be delivered; and

                  4. Includes a clear and conspicuous disclosure informing the called party that:

                          a. By executing the agreement, the called party authorizes the person
                             making or allowing the placement of a telephonic sales call to deliver or
                             cause to be delivered a telephonic sales call to the called party using an
                             automated system for the selection or dialing of telephone numbers or
                             the playing of a recorded message when a connection is completed to a
                             number called; and

                          b. He or she is not required to directly or indirectly sign the written
                             agreement or to agree to enter into such an agreement as a condition of
                             purchasing any property, goods, or services.

  Fla. Stat. § 501.059(1)(g).

          67.     Defendant failed to secure prior express written consent within the meaning of the

  FTSA from Plaintiff and the Class members.

          68.     In violation of the FTSA, Defendant made and/or knowingly allowed telephonic

  sales calls to be made to Plaintiff and the Class members without their prior express written

  consent.

          69.     Defendant made and/or knowingly allowed the telephonic sales calls to Plaintiff

  and the Class members to be made utilizing an automated system for the selection or dialing of

  telephone numbers.




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          70.     As a result of Defendant’s conduct, and pursuant to § 501.059(10)(a) of the FTSA,

  Plaintiff and Class members were harmed and are each entitled to a minimum of $500.00 in

  damages for each violation. Plaintiff and the Class members are also entitled to an injunction

  against future calls. Id.

                                              COUNT II
                                   VIOLATION OF 47 U.S.C. § 227
                     (Individually and on behalf of the Do Not Call Registry Class)

          71.     Plaintiff re-alleges and incorporates paragraphs 1-62 as is fully set forth herein.

          72.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

  person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

  who has registered his or her telephone number on the national do-not-call registry of persons who

  do not wish to receive telephone solicitations that is maintained by the federal government.”

          73.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any

  person or entity making telephone solicitations or telemarketing calls to wireless telephone

  numbers.” 1

          74.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate any

  call for telemarketing purposes to a residential telephone subscriber unless such person or entity

  has instituted procedures for maintaining a list of persons who request not to receive telemarketing

  calls made by or on behalf of that person or entity.”

          75.     Any “person who has received more than one telephone call within any 12-month

  period by or on behalf of the same entity in violation of the regulations prescribed under this

  subsection may” may bring a private action based on a violation of said regulations, which were



  1
    Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket
  No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003) Available at
  https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-153A1.pdf

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  promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

  solicitations to which they object. 47 U.S.C. § 227(c).

         76.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

  telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry

  Class members who registered their respective telephone numbers on the National Do Not Call

  Registry, a listing of persons who do not wish to receive telephone solicitations that is maintained

  by the federal government.

         77.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call

  Registry Class received more than one telephone call in a 12-month period made by or on behalf

  of Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendant’s

  conduct as alleged herein, Plaintiff and the Do Not Call Registry Class suffered actual damages

  and, under section 47 U.S.C. § 227(c), are entitled, inter alia, to receive up to $500 in damages for

  such violations of 47 C.F.R. § 64.1200.

         78.     To the extent Defendant’s misconduct is determined to be willful and knowing, the

  Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

  recoverable by the members of the Do Not Call Registry Class.

                                            COUNT III
                               VIOLATION OF 47 U.S.C. § 227(c)(2)
                (Individually and on behalf of the TCPA Internal Do Not Call Class)

         79.     Plaintiff re-alleges and incorporates paragraphs 1-62 as if fully set forth herein.

         80.     The TCPA provides that any “person who has received more than one telephone

  call within any 12-month period by or on behalf of the same entity in violation of the regulations

  prescribed under this subsection may” bring a private action based on a violation of said




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  regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid

  receiving telephone solicitations to which they object. 47 U.S.C. § 227(c)(5).

         81.     Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any call for

  telemarketing purposes to a residential telephone subscriber unless such person or entity has

  instituted procedures for maintaining a list of persons who request not to receive telemarketing

  calls made by or on behalf of that person or entity. The procedures instituted must meet certain

  minimum standards, including:

         (3) Recording, disclosure of do-not-call requests. If a person or entity making a call for
         telemarketing purposes (or on whose behalf such a call is made) receives a request from
         a residential telephone subscriber not to receive calls from that person or entity, the
         person or entity must record the request and place the subscriber’s name, if provided,
         and telephone number on the do-not call list at the time the request is made. Persons or
         entities making calls for telemarketing purposes (or on whose behalf such calls are
         made) must honor a residential subscriber’s do-not-call request within a reasonable time
         from the date such request is made. This period may not exceed thirty days from the
         date of such request….

         (6) Maintenance of do-not-call lists. A person or entity making calls for telemarketing
         purposes must maintain a record of a consumer’s request not to receive further
         telemarketing calls. A do-not-call request must be honored for 5 years from the time the
         request is made.

  47 C.F.R. § 64.1200(d)(3), (6).

         82.     Under 47 C.F.R § 64.1200(e) the rules set forth in 47 C.F.R. § 64.1200(d) are

  applicable to any person or entity making telephone solicitations or telemarketing calls to wireless

  telephone numbers:

         (e) The rules set forth in paragraph (c) and (d) of this section are applicable to any person
         or entity making telephone solicitations or telemarketing calls to wireless telephone
         numbers to the extent described in the Commission's Report and Order, CG Docket No.
         02-278, FCC 03-153, “Rules and Regulations Implementing the Telephone Consumer
         Protection Act of 1991

  47 C.F.R. § 64.1200(e).




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         83.     Plaintiff and the TCPA Internal Do Not Call Class members made requests to

  Defendant not to receive calls from Defendant.

         84.     Defendant failed to honor Plaintiff and the TCPA Internal Do Not Call Class

  members’ requests.

         85.     Upon information and belief, Defendant has not instituted procedures for

  maintaining a list of persons who request not to receive telemarketing calls made by or on behalf

  of their behalf, pursuant to 47 C.F.R. § 64.1200(d).

         86.     Because Plaintiff and the TCPA Internal Do Not Call Class members received more

  than one text message in a 12-month period made by or on behalf of Defendant in violation of 47

  C.F.R. § 64.1200(d), as described above, Defendant violated 47 U.S.C. § 227(c)(5).

         87.     As a result of Defendant’s violations of 47 U.S.C. § 227(c)(5), Plaintiff and the

  TCPA Internal Do Not Call Class members are entitled to an award of $500.00 in statutory

  damages, for each and every negligent violation, pursuant to 47 U.S.C. § 227(c)(5).

         88.     As a result of Defendant’s violations of 47 U.S.C. § 227(c)(5), Plaintiff and the

  TCPA Internal Do Not Call Class members are entitled to an award of $1,500.00 in statutory

  damages, for each and every knowing and/or willful violation, pursuant to 47 U.S.C. § 227(c)(5).

         89.     Plaintiff and the TCPA Internal Do Not Call Class members also suffered damages

  in the form of invasion of privacy.

         90.     Plaintiff and the TCPA Internal Do Not Call Class members are also entitled to and

  seek injunctive relief prohibiting Defendant’s illegal conduct in the future, pursuant to 47 U.S.C.

  § 227(c)(5).

                                             COUNT IV
                                VIOLATION OF Fla. Stat. § 501.059
                 (Individually and on behalf of the FTSA Internal Do Not Call Class)



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          91.      Plaintiff re-alleges and incorporates paragraphs 1-62 as if fully set forth herein.

          92.      It is a violation of the FTSA to initiate an outbound telephone call, text message, or

  voicemail transmission to a consumer, business, or donor or potential donor who has previously

  communicated to the telephone solicitor or other person that he or she does not wish to receive an

  outbound call, text message, or voicemail transmission:

                (a) Made by or on behalf of the seller whose goods or services are being offered; or

                (b) Made on behalf of a charitable organization for which a charitable contribution is

                   being solicited.

  Fla. Stat. § 501.059(5) (a), (b).

          93.      Plaintiff and the FTSA Internal Do Not Call Class Members made requests to

  Defendant not to receive messages from Defendant.

          94.      Defendant failed to honor Plaintiff and the FTSA Internal Do Not Call Class

  members’ requests.

          95.      In violation of the FTSA, Defendant made and/or knowingly allowed outbound text

  messages offering their services to be sent to Plaintiff and the FTSA Internal Do Not Call Class

  members, after they had previously communicated to Defendant that he or she did not wish to

  receive any more calls, text messages, or voicemails from Defendant.

          96.      As a result of Defendant’s conduct, and pursuant to § 501.059(10)(a) of the FTSA,

  Plaintiff and FTSA Internal Do Not Call Class members were harmed and are each entitled to a

  minimum of $500.00 in damages for each violation. Plaintiff and the FTSA Internal Do Not Call

  Class members are also entitled to an injunction against future calls.

          97.      Plaintiff and the FTSA Internal Do Not Call Class members also suffered damages

  in the form of invasion of privacy



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                                           PRAYER FOR RELIEF

            WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the following

  relief:

                a) An order certifying this case as a class action on behalf of the Class as defined above,

                    and appointing Plaintiff as the representative of the Class and Plaintiff’s counsel as Class

                    Counsel;

                b) An award of statutory damages for Plaintiff and each member of the Class, including

                    treble damages;

                c) An order declaring that Defendant’s actions, as set out above, violate the FTSA;

                d) An order declaring that Defendant’s actions, as set out above, violate the TCPA.

                e) An injunction requiring Defendant to cease all telephonic sales calls made without valid

                    consent under the FTSA, and to otherwise protect the interests of the Class;

                f) Such further and other relief as the Court deems necessary.

                                               JURY DEMAND

            Plaintiff, individually and on behalf of the Class, hereby demand a trial by jury.

                                DOCUMENT PRESERVATION DEMAND

            Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

  databases, or other itemization of telephone numbers associated with the communications or transmittal

  of the calls as alleged herein.

  Dated: July 15, 2022

  Respectfully submitted,

                                                             SHAMIS & GENTILE P.A.
                                                             /s/ Andrew Shamis
                                                             Andrew J. Shamis, Esq.
                                                             Florida Bar No. 101754

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